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Case 2:21-cr-00134-RJB Document3 Filed 08/11/21 Page 1 of 1

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, n€ R 2 1 ED 1 3 4 JUR
Plaintiff, ORDER ISSUING BENCH WARRANT
Vv.
MICHAEL JOHN SCOTT,
Defendant.

 

 

 

 

An Indictment having been returned against the above-named defendant, now

therefore
IT IS ORDERED that a Bench Warrant shall be issued and conditions of release or
detention shall be addressed at the initial appearance in this case.

DATED this 11th day of August 2021.

Dla habe

UNITED ATATES MAGISTRATE JUDGE
SECRET: YES NO __ xX

ORDER ISSUING BENCH WARRANT - 1 UNITED STATES ATTORNEY
700 Stewart Street, Suite 5220

Seattle, Washington 98101
(206) 553-7970
